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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF GEORGIA


In re:                                                      Case No. 17-60400-EJC
         LINDA F. HILL

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       O. Byron Meredith III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 09/15/2017.

         2) The plan was confirmed on 11/17/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 07/03/2018, 12/26/2018.

         5) The case was dismissed on 03/08/2019.

         6) Number of months from filing to last payment: 16.

         7) Number of months case was pending: 22.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $11,969.50.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor                 $5,354.82
        Less amount refunded to debtor                               $0.00

 NET RECEIPTS:                                                                                      $5,354.82


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $2,009.20
     Court Costs                                                                $0.00
     Trustee Expenses & Compensation                                          $535.48
     Other                                                                      $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                  $2,544.68

 Attorney fees paid and disclosed by debtor:                      $0.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim            Claim       Principal      Int.
 Name                                  Class   Scheduled      Asserted         Allowed        Paid         Paid
 1ST FRANKLIN FINANCIAL            Unsecured         675.00           NA              NA            0.00       0.00
 1ST FRANKLIN FINANCIAL CORPORA    Secured        4,135.66       4,442.40             NA            0.00       0.00
 ALLIANCEONE RECEIVABLE            Unsecured         166.00           NA              NA            0.00       0.00
 ALLIANCEONE RECEIVABLE            Unsecured          54.00           NA              NA            0.00       0.00
 ALLIANCEONE RECEIVABLE            Unsecured          54.00           NA              NA            0.00       0.00
 ALLIANCEONE RECEIVABLE            Unsecured          24.00           NA              NA            0.00       0.00
 ALLIED INTERSTATE                 Unsecured         726.58           NA              NA            0.00       0.00
 ASHLEY FUNDING SERVICES LLC       Unsecured            NA          10.88           10.88           0.00       0.00
 ASHLEY FUNDING SERVICES LLC       Unsecured            NA         806.00          806.00           0.00       0.00
 ASHLEY FUNDING SERVICES LLC       Unsecured            NA          39.68           39.68           0.00       0.00
 ASHLEY FUNDING SERVICES LLC       Unsecured            NA           8.86            8.86           0.00       0.00
 BULLOCH COUNTY TAX COMMISSIO      Secured        1,438.40       3,944.92        3,944.92           0.00       0.00
 CAPITAL ONE AUTO FINANCE          Secured        6,000.00       6,000.00        6,000.00      2,373.79     231.83
 CREDIT BUREAU ASSOCIATES          Unsecured          70.00           NA              NA            0.00       0.00
 CREDIT COLLECTION                 Unsecured          79.00           NA              NA            0.00       0.00
 DITECH FINANCIAL LLC              Secured       15,500.00            NA        15,734.68           0.00       0.00
 DITECH FINANCIAL LLC              Secured       60,000.00     86,032.00        86,032.00           0.00       0.00
 EAST GEORGIA REGIONAL MEDICAL     Unsecured         300.00           NA              NA            0.00       0.00
 INTERNAL REVENUE SERVICE          Priority       5,677.84       6,151.34        5,222.34           0.00       0.00
 INTERNAL REVENUE SERVICE          Unsecured            NA            NA           929.00           0.00       0.00
 LANIER COLLECTION                 Unsecured         697.49           NA              NA            0.00       0.00
 LANIER COLLECTION                 Unsecured         347.00           NA              NA            0.00       0.00
 MITCHELL D BLUM & ASSOCIATES, L   Unsecured         856.00           NA              NA            0.00       0.00
 PORTFOLIO RECOVERY ASSOCIATES     Unsecured     20,000.00     32,431.26              NA            0.00       0.00
 UNITED APPLIANCE & FURN CO        Secured           200.00        200.00          200.00        200.00        4.52




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $86,032.00              $0.00             $0.00
       Mortgage Arrearage                                $15,734.68              $0.00             $0.00
       Debt Secured by Vehicle                            $6,000.00          $2,373.79           $231.83
       All Other Secured                                  $4,144.92            $200.00             $4.52
 TOTAL SECURED:                                         $111,911.60          $2,573.79           $236.35

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00             $0.00
        Domestic Support Ongoing                              $0.00               $0.00             $0.00
        All Other Priority                                $5,222.34               $0.00             $0.00
 TOTAL PRIORITY:                                          $5,222.34               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $1,794.42               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $2,544.68
         Disbursements to Creditors                             $2,810.14

 TOTAL DISBURSEMENTS :                                                                       $5,354.82


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/10/2019                             By:/s/ O. Byron Meredith III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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